


  Appeal by the defendant, as limited by his motion, from two sentences of the Supreme Court, Kings County (Chun, J.), both imposed August 27, 2015, upon his pleas of guilty, on the ground that the sentences were excessive.
 

  Ordered that the sentences are affirmed.
 

  The defendant’s purported waiver of his right to appeal was invalid (see People v Bradshaw, 18 NY3d 257, 264 [2011]; People v Cambridge, 145 AD3d 795, 795 [2016]; People v Brown, 122 AD3d 133 [2014]) and, thus, does not preclude review of his excessive sentence claims. However, contrary to the defendant’s contention, the sentences imposed were not excessive (see People v Suitte, 90 AD2d 80 [1982]).
 

  Eng, P.J., Chambers, Sgroi, Maltese and Connolly, JJ., concur.
 
